                                                                        Case 3:24-cv-01077-RSH-MMP           Document 57-2          Filed 09/30/24    PageID.593       Page 1
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                                                                          4
                                                                              Attorneys for Defendants
                                                                          5   Attorney Search Network, Inc. and Jake Baloian
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                                                                                                        United States District Court For The
                                                                          8
                                                                                                            Southern District of California
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                                                                         10
                                                                                                                    )
                                                                         11   AYNUR BAGHIRZADE, an individual,      )                  Case No. 24CV1077 RSH MMP
                                                                                                                    )
                                                                         12                             Plaintiff,  )                  [Assigned to Hon. Robert S. Huie;
                                                                                                                    )                  Action filed on August 15, 2024]
                                                                         13          vs.                            )
The Cowan Law Firm
                     Beverly Hills, California 90210
                     9301 Wilshire Blvd., Suite 609




                                                                                                                    )                  Declaration of Jake Baloian in
                                                                         14   ARMENIAN NATIONAL                     )                  Support of Defendants Jake
                                                       (310) 394-1420




                                                                              COMMITTEE OF AMERICA, a Non - )                          Baloian and Attorney Search
                                                                         15   Profit Corporation; ARAM              )
                                                                              HAMPARIAN, an individual;             )                  Network, Inc.’s Motion to Dismiss
                                                                         16   ARMENIAN NATIONAL                     )                  Pursuant to F.R.C.P. Rule
                                                                              COMMITTEE OF AMERICA                  )                  12(b)(1),(3) & (6)
                                                                         17   WESTERN REGION, a California          )
                                                                              Nonprofit Public Benefit Corporation; )
                                                                         18   ARMEN SAHAKYAN, an individual;        )
                                                                              YELP Inc., a Delaware Stock           )                  Date: November 4, 2024
                                                                         19   Corporation; JEREMY STOPPELMAN, )
                                                                              an individual; GOOGLE LLC., a         )
                                                                         20   Delaware Limited Liability Company;   )                  Place: Courtroom 3B
                                                                              APLHABET Inc., a Delaware Stock       )                        Edward J. Schwartz U.S.
                                                                         21   Corporation; ORANGE COUNTY BAR )                               Courthouse, San Diego
                                                                              ASSOCIATION, a California Nonprofit )
                                                                         22   Mutual Benefit Corporation; TRUDY     )
                                                                              LEVINDOFSKE, an individual;           )
                                                                         23   TERESA VUKI, an individual; LOS       )
                                                                              ANGELES COUNTY BAR                    )
                                                                         24   ASSOCIATION, a California Nonprofit )
                                                                              Mutual Benefit Corporation; SETH      )
                                                                         25   CHAVEZ, an individual; COCO SU, an )
                                                                              individual; ATTORNEY SEARCH           )
                                                                         26   NETWORK, a California Stock           )
                                                                              Corporation; JAKE BALOIAN, an         )
                                                                         27   individual; Nolo, a California Stock  )
                                                                              Corporation; MH SUB I, LLC, a         )
                                                                         28   Delaware Limited Liability Company;   )
                                                                              LEGALMATCH CALIFORNIA, a              )
                                                                                                                                i
                                                                              Declaration of Jake Baloian in Support of Defendants Jake Baloian and Attorney Search Network’s Motion
                                                                                                       to Dismiss Pursuant to F.R.C.P. Rule 12(b)(1),(3) & (6)
                                                                        Case 3:24-cv-01077-RSH-MMP           Document 57-2          Filed 09/30/24    PageID.594       Page 2
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                                                                          1   Domestic Corporation; ESTRELLA             )
                                                                              SANCHEZ, an individual; DOES 1             )
                                                                          2   THROUGH 300, inclusive                     )
                                                                                                                         )
                                                                          3                             Defendants       )
                                                                                                                         )
                                                                          4   __________________________________________ )

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                                                                         11
                                                                              1.      My name is Jake Baloian. I am a defendant in this action and am also the
                                                                         12
                                                                                      executive director of Defendant Attorney Search Network, Inc. (“ASN”). I
                                                                         13
The Cowan Law Firm
                     Beverly Hills, California 90210
                     9301 Wilshire Blvd., Suite 609




                                                                                      have personal knowledge and if called upon to do so would and could
                                                                         14
                                                                                      competently testify to the following:
                                                       (310) 394-1420




                                                                         15
                                                                              2.      Attorney Search Network is a California corporation with physical offices
                                                                         16
                                                                                      in Los Angeles, California (on Ventura Boulevard in Sherman Oaks). It
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                                                                                      operates a lawyer referral service and is certified by the State Bar of
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                                                                                      California. I have been employed as ASN’s executive director for over 15
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                                                                                      years; and have always lived and worked in Los Angeles County.
                                                                         20
                                                                                                       My duties as ASN’s executive director
                                                                         21
                                                                              3.      As the executive director of ASN, I am in charge of the daily operations of
                                                                         22
                                                                                      its business. My duties include recruiting and reviewing and approving
                                                                         23
                                                                                      applications from lawyers who want to join ASN’s referral network – as
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                                                                                      well as trying to supervise (on a high level) the many customer
                                                                         25
                                                                                      representatives ASN employs to interview prospective clients who contact
                                                                         26
                                                                                      us and then try to match them with suitable lawyers in our network.
                                                                         27
                                                                              4.      My duties also include being in charge of (a) ASN’s record keeping for its
                                                                         28
                                                                                      participating lawyers and (b) maintaining its business records that include

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                                                                              Declaration of Jake Baloian in Support of Defendants Jake Baloian and Attorney Search Network’s Motion
                                                                                                       to Dismiss Pursuant to F.R.C.P. Rule 12(b)(1),(3) & (6)
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